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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,

                 Plaintiff,
                                     No. 1:17-cv-11008
     v.

CELLTRION HEALTHCARE CO., LTD.,      PUBLIC VERSION
CELLTRION, INC., and                 FILED UNDER SEAL
HOSPIRA, INC.

                 Defendants.


        DEFENDANTS’ RESPONSE TO PLAINTIFF’S STATEMENT OF
       MATERIAL FACTS IN SUPPORT OF PLAINTIFF’S MOTION FOR
        SUMMARY JUDGMENT ON THE ISSUE OF NON-INFRINGING
      ALTERNATIVES AND DEFENDANTS’ STATEMENT OF MATERIAL
                         COUNTER-FACTS
